    17-08264-rdd      Doc 69     Filed 07/28/21 Entered 07/28/21 09:00:15              Main Document
                                              Pg 1 of 1




                                                                      July 28, 2021
Via ECF and E-mail
Honorable Robert D. Drain
United States Bankruptcy Court
Southern District of New York
300 Quarropas Street
White Plains, NY 10601-4140
               Re:    The Official Committee of Unsecured Creditors v. McKesson Corp.
                      (Adv. Pro. 17-08264 (RDD));
                      The Official Committee of Unsecured Creditors v. McKesson Pharmacy
                      Systems LLC (Adv. Pro. 17-08265 (RDD)); and
                      The Official Committee of Unsecured Creditors v. McKesson Specialty Care
                      Distribution Corp. (Adv. Pro. 17-08266 (RDD))
Dear Judge Drain:

        On behalf of Plaintiff, the Official Committee of Unsecured Creditors of The Great Atlantic &
Pacific Tea Company, Inc., we write in brief reply to McKesson’s letter of July 27. In Plaintiff’s view,
the issue is simple. McKesson has no right to submit a rebuttal report in response to Mr. Iampietro,
because Fed. R. Civ. P. 26 states that rebuttal reports must be submitted within 30 days of the report
they respond to. McKesson's letter offers no authority to the contrary. Also, because McKesson does
not have the right to submit a rebuttal report, it cannot have the right to seek discovery in connection
with a rebuttal report, which in any event would be contrary to the parties’ agreement as recorded in
McKesson’s letter to Court. Further, as McKesson knows, the expert reports that Plaintiff will submit
tomorrow do not address AmerisourceBergen, because they respond to McKesson’s expert CBIZ, which
does not discuss AmerisourceBergen. Consequently, McKesson's subpoena should be quashed.

         Most of McKesson’s letter is irrelevant, and much is wrong, particularly concerning Mr.
Iampietro and the history of the parties’ expert reports. For example, McKesson’s expert reports were in
fact late, because the time to disclose experts had passed under two prior scheduling orders before
McKesson chose to disclose any experts. Also, Plaintiff served a document request on May 21 seeking
documents about CBIZ and other issues, and reminded McKesson repeatedly, but still has received no
documents. In any event, the Court need not consider these issues to decide whether to quash
McKesson’s subpoena. They, like McKesson’s mischaracterizations of Mr. Iampietro’s testimony, are
irrelevant. Accordingly, we again request that the Court schedule a conference to address quashing
McKesson’s Subpoena.
                                                              Respectfully,
                                                              /s/ Richard Milin
                                                              Richard K. Milin
cc: Jeffrey K. Garfinkle, Esq.
   Tracy L. Klestadt, Esq.

                             420 Lexington Avenue, 4th Floor, New York, NY 10170
               Tel: 646-998-5580 I Fax: 646-998-8284 I info@grifflegal.com I www.grifflegal.com
